                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

RICKY MATLOCK, et al.,                             )
                                                   )
     Plaintiffs,                                   )
                                                   )
v.                                                 )       NO. 3:18-cv-00047
                                                   )
ROUNDPOINT MORTGAGE                                )       JUDGE CAMPBELL
SERVICING CORPORATION, et al.,                     )       MAGISTRATE JUDGE NEWBERN
                                                   )
      Defendants.                                  )

                                              ORDER

         Pending before the Court is Plaintiffs’ Motion for Leave of Court to File Documents under

Seal. (Doc. No. 87), Defendant LoanCare’s Motion for Leave to File Under Seal (Doc. No. 95),

and Defendant RoundPoint’s Motion for Leave to File Under Seal (Doc. No. 99).

         There is a strong presumption in favor of open records. Signature Mgmt. Team, LLC v.

Doe, 876 F.3d 831, 836 (6th Cir. 2017) (citing Brown & Williamson Tobacco Corp. v. FTC, 710

F.2d 1165, 1179 (6th Cir. 1983)). The Sixth Circuit has held that a party seeking to seal a document

from public view must provide “compelling reasons” to seal the document and demonstrate that

sealing is narrowly tailored to serve those reasons by analyzing “in detail, document by document,

the propriety of secrecy, providing reasons and legal citations.” Shane Grp., Inc. v. Blue Cross

Blue Shield of Michigan, 825 F.3d 299, 305-06 (6th Cir. 2016); see also LR 5.03. This standard is

higher than that required for protecting documents during discovery. Beauchamp v. Fed. Home

Loan Mortg. Corp., 658 Fed. Appx. 202, 207 (6th Cir. 2016). In making the determination to seal

a case, the Court balances the litigants’ privacy interests against the public’s right of access. Rudd

Equipment Co., Inc. v. John Deere Const. & Forestry Co., 834 F.3d 589, 594 (6th Cir. 2016).




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       According to Local Rule 5.03(c), it is the burden of the party who designated the materials

as confidential to meet the requirements set out in Local Rule 7.01(a) and explain why the filing

should remain under seal. Although Defendants acknowledge the relevant authority in their filings,

their explanations with respect to the necessity of sealing are inadequate.

       Accordingly, the pending motions for leave to file under seal (Doc. Nos. 87, 95, 99) are

DENIED without prejudice to refiling pursuant to the standards set forth in Shane Grp., Inc., 825

F.3d at 305-06 and in Beauchamp, 658 Fed. Appx. at 207 and in accordance with Local Rule 5.03.

The Clerk is DIRECTED to stay any unsealing of Doc. Nos. 87, 95, 99 for fourteen (14) days

from the entry of this order.

       It is so ORDERED.

                                                         ________________________________
                                                         WILLIAM L. CAMPBELL, JR.
                                                         UNITED STATES DISTRICT JUDGE




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